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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                       )
                                                )
             Plaintiff,                         )
                                                )
      vs.                                       )      CRIMINAL NO. 05-379 BB
                                                )
ROBERT DELAYO, and                              )
COLBY ATKINS.                                   )
                                                )
             Defendant.                         )
                                                )


      ORDER FOR DESTRUCTION OR DISPOSAL OF FIREARMS EVIDENCE


      THIS MATTER having come before the Court on the motion of the United States for

the disposal of firearm evidence obtained in the above-captioned cause by the Federal

Bureau of Investigation (FBI), and the Court being fully advised, finds that the Motion is

well taken, and

      IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that One (1) 20

gauge sawed-off shotgun, make and model unknown, as described by the United States'

motion, be turned over to the care and control of the FBI for disposal or other purposes

deemed appropriate by the FBI.




                                                UNITED STATES DISTRICT JUDGE
